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AO 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the ee
Southern District of Ohio ules 4
In the Matter of the Search of )
(Briefly describe the property to be searched )
or identify the person by name and address) ) Case No.
Information associated with Snapchat accounts )
CONNOWGONEL4TER and CONNOWGONELATER,

that is stored at premises controlled by Snap Inc.
APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that | have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

SEE ATTACHMENT A

located in the Southern _ District of ___ California _, there is now concealed (identify the

 

 

person or describe the property to be seized):

SEE ATTACHMENT B

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or mare):
Mf evidence of a crime;
© contraband, fruits of crime, or other items illegally possessed;
property designed for use, intended for use, or used in committing a crime;
© a person to be arrested or a person who is unlawfully restrained.
The search is related to a violation of:

Code Section Offense Description

The application is based on these facts:

See Attached Affidavit

a Continued on the attached sheet.

    

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P/Andrew Gragan, ‘Spécial Agent, FBI
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Sworn to before me and signed in my presence.

  

Date: 08/23/2019
City and state: Dayton, Ohio Hon. Michael ‘J Newman, Us “Magistrate Judge
“Printed name and title

  

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

IN THE MATTER OF THE SEARCH OF
INFORMATION ASSOCIATED WITH
SNAPCHAT ACCOUNTS
CONNOWGONEL4TER and
CONNOWGONELATER, THAT IS
STORED AT PREMISES CONTROLLED
BY SNAP INC.

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bP

Case No.

 

 

 

AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, P. Andrew Gragan, being first duly sworn, hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

i I make this affidavit in support of an application for a search warrant for
information associated with Snapchat accounts COnnOwgOnel4ter (hereinafter referred to as
ACCOUNT 1) and Connowgonelater (hereinafter referred to as ACCOUNT 2) that is stored at
premises, owned, maintained, controlled, or operated by Snap Inc., an electronic communications
company headquartered in Santa Monica, California. The information to be searched is described
in the following paragraphs and in Attachment A. This affidavit is made in support of an
application for a search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A), and 2703(c)(1)(A) to
require Snap Inc. to disclose to the government records and other information in its possession,
pertaining to the Snapchat accounts.

2. [ama Special Agent with the Federal Bureau of Investigation (“FBI”), Cincinnati
Division. I have been employed as a Special Agent with the FBI since May 2016. I have
received training in national-security investigations and criminal investigations, and I have

conducted investigations related to international terrorism, white-collar crimes, drug trafficking,
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public corruption, firearms, and violent crimes. As part of these investigations, I have
participated in physical surveillance and records analysis, worked with informants, conducted
interviews, served court orders and subpoenas, and executed search warrants.

3. The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents and witnesses. This affidavit is intended
to show merely that there is sufficient probable cause for the requested warrant and does not set
forth all of my knowledge about this matter.

4. Based on my training and experience and the facts as set forth in this affidavit, there
is probable cause to believe that violations of 18 U.S.C. § 922(g)(3) (Possession of a firearm by
an unlawful user of a controlled substance or by a person addicted to a controlled substance), 18
U.S.C. § 922(a)(6) (false statement regarding firearms), 18 U.S.C. § 924(a)(1)(A) (false statement
regarding firearms), 18 U.S.C. § 1001 (false statement), and 21 U.S.C. § 844 (unlawful possession
of a controlled substance), have been committed by Conner BETTS (“BETTS”). There is also
probable cause to search the information described in Attachment A for evidence of these crimes,
as described in Attachment B.

5: This Court has jurisdiction to issue the requested warrant because it is “a court of
competent jurisdiction” as defined by 18 U.S.C. § 2711. Specifically, the Court of the Southern
District of Ohio is “a district court of the United States . . . that has jurisdiction over the offense
being investigated.” 18 U.S.C. § 2711(3)(A)(i).

PROBABLE CAUSE

6. On or about August 4, 2019, at approximately 1:00 a.m., Dayton Police Officers

responded to an active shooter in the 400 block of East Fifth Street in Dayton, Ohio. Officers

observed a male, later identified as BETTS, actively engaged in shooting into a crowd of
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individuals located at the 400 block of East Fifth Street in Dayton, Ohio, a city in the Southern
District of Ohio.

fe The Officers were able to return fire towards the suspect in order to stop the
threat. Multiple shots were fired, and BETTS was killed. At this time ten (10) people, including
BETTS, are deceased resulting from the shooting, along with multiple individuals injured. The
injured were transported to multiple local area hospitals. BETTS was located on the scene
wearing body-armor and headphones. During a search of the suspect, a black Samsung S8 Active
cellular telephone was located in his back pocket. A search warrant from the Dayton Municipal
Court was obtained to search the content of this cellular telephone. The phone number (937)
956-3637 was found to be the call number assigned to the phone. Officers were able to identify
the weapon as an assault rifle style firearm.

8, In the morning hours of August 4, 2019, the FBI was able to identify the shooter
at the scene based on finger prints. The shooter was identified as BETTS.

9, On or about August 4, 2019, a Bureau of Alcohol, Tobacco, Firearms and
Explosives (ATF) Firearms Trace was conducted on the firearm used by BETTS, further
described as an Anderson AM-15 5.56mm with serial number 18309695. The purchaser was
Connor Stephen BETTS, with an address of 2250 Creekview Place, Bellbrook, Ohio, date of
birth (DOB) of October 28, 1994, and a Social Security Number (SSN) with the last four digits
of 6211. Ohio Bureau of Motor Vehicle (BMV) records reflect the same address, DOB, and last
four digits of the SSN for BETTS.

10. Records obtained from a Dayton-area Federal Firearm Licensed dealer included
an ATF Form 4473, which based on my training and experience I know is required in order to

complete the transaction of purchasing a firearm from a licensed dealer, for an Anderson Mfg
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model AM-15 receiver with serial number 18309695, which, based on information provided by
ATF, was manufactured outside the state of Ohio. The transferee/buyer was listed on the ATF
Form 4473 as Connor Stephen BETTS with the aforementioned address, DOB, and SSN.
BETTS provided (937) 956-3637 and cnnrbetts477/@gmail.com as his contact information. The
transfer of the firearm from the dealer to BETTS was completed on April 12, 2019.

Lil. Box 1le of ATF Form 4473 states, “Are you an unlawful user of, or addicted to,
marijuana or any depressant, stimulant, narcotic drug, or any other controlled substance?
Warning: The use or possession of marijuana remains unlawful under Federal law regardless of
whether it has been legalized or decriminalized for medicinal or recreational purposes in the state
where you reside.” The form contained warnings concerning the consequences of answering the
questions on the form falsely. BETTS’ Form 4473 was checked “No” in response to the
question in box Ile.

12, Records from the same FFL dealer also showed an ATF Form 4473 for a Taurus
Pt.111 G2C 9mm pistol with serial number TLR08219 was purchased by BETTS on November
23, 2018. The response to box 11e was checked “No.”

13. On or about August 4, 2019, Dayton Police Officers executed a search warrant,
issued by the Dayton Municipal Court, on a 2007 Toyota Corolla bearing Ohio license plate
number GNM1586. The vehicle was parked near the scene of the shooting and is believed to
have been used by BETTS for transportation to the scene and for storage of the weapon he used
in the shooting. Ohio BMV records show BETTS’s father as the registered owner. Among
other items, officers recovered a H&R 12 gauge Pardner Pump shotgun.

14. On or about August 4, 2019, an ATF Firearms Trace was conducted on the

shotgun, further described as a Hawk Industries Inc. H&R Pardner Pump 12 gauge shotgun with
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serial number NZ897689. The purchaser was Connor Stephen BETTS, with an address of 2250
Creekview Place, Bellbrook, Ohio, date of birth (DOB) of October 28, 1994, and last four of
Social Security Number (SSN) 6211, identifying information consistent with the aforementioned
BMV and other records.

13. Records obtained from a Dayton-area Federal Firearm Licensed (FFL) dealer
included an ATF Form 4473 for a H&R Pardner 12 gauge shotgun with serial number
NZ897689. The transferee/buyer listed on the ATF Form 4473 was Connor Stephen BETTS
with the aforementioned address, DOB, and SSN, BETTS’s phone number on the form is the
same number listed on the form mentioned in paragraph 10 above. The transfer of the firearm
from the dealer to BETTS was completed on June 21, 2019. BETTS’s Form 4473 was checked
“No” in response to the question in box 1 1e.

16. On or about August 4, 2019, BETTS’s corpse was taken to the Montgomery
County Coroner for autopsy. During the autopsy, Dayton Police Officers removed property from
the pockets of BETTS, including an approximate three inch long black straw with a baggie
attached to the end of it by a rubber band. Inside the baggie was a white powder, which the
seizing officers, based on their training and experience, believe to be cocaine based on its
appearance. The suspected cocaine was submitted to the Miami Valley Regional Crime Lab
(MVRCL) for testing. MVRCL reported, on or about August 9, 2019, that the substance was
cocaine.

17. On or about August 4, 2019, the FBI interviewed a friend of BETTS, who was
with BETTS at the scene of the shooting and was shot and wounded by BETTS, and who for the
purpose of this affidavit will be referred to as C.B. C.B. advised that around July 26 to 28, 2019,

BETTS indicated to C.B. that he had relapsed with cocaine and it was not interacting well. C.B.
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also stated that BETTS had also invited him to go the range and shoot his AR, which C.B. did
not do.

18. On or about August 4, 2019, the FBI and ATF interviewed a friend of BETTS,
who for the purpose of this affidavit will be referred to as E.K. E.K. identified BETTS’s
Snapchat account names as ACCOUNT 1 and ACCOUNT 2.

19. On or about August 4, 2019, a large national retail store, with a Federal Firearms
License to deal in firearms, provided information to the FBI of weapon purchases made by
BETTS. The weapons are further described as an H&R 1228 Pardner 12 gauge shotgun with
serial number NZ682493, purchased on May 31, 2013; a DPMS Panther Arms, Inc, M4 Sportical
.223-5.56 caliber rifle, with serial number L4017969, purchased on November 26, 2013; and a
Mossberg 702 Plinkster 22LR rifle with serial number EML4019811, purchased on May 3, 2015.
Records obtained from the retail store included ATF Form 4473s for all three firearms. Box 1 le
was checked “No” on all three Form 4473s.

20. On or about August 5, 2019, the FBI interviewed a high school girlfriend of
BETTS, who for the purpose of this affidavit will be referred to as H.S. H.S. dated BETTS off
and on in high school. She advised the FBI that BETTS had abused a number of drugs,
including Adderall, Xanax, cocaine, and marijuana. H.S. indicated that BETTS purchased pills
and cocaine from a manager at the restaurant BETTS worked at that time. H.S. advised that
BETTS had told others he could sell cocaine to them, and that during 2013 to 2014, BETTS
talked about having hallucinations and feeling like bugs were under his skin.

21. On or about August 5, 2019, the FBI interviewed another former, but more recent
girlfriend of BETTS, who for the purpose of this affidavit will be referred to as C.J. C.J. knew

BETTS since at least January 2019, having been classmates at a local college. C.J. dated
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BETTS from at least March 2019, until they severed their relationship in or about May 2019.
C.J. indicated that BETTS was previously addicted to methamphetamine and was a recovering
meth addict. BETTS had told her he quit “cold turkey” after going on vacation with his family
and he was unable to obtain illegal narcotics.

22 On or about August 6, 2019, a search warrant, issued by the Dayton Municipal
Court, was served to Snap Inc., regarding ACCOUNT 1. On the same day, the company
responded and provided subscriber information for ACCOUNT 1, including
ennrbetts477/@gmail.com as the subscriber’s email address, and a phone number (937) 956-
3637.

23. On or about August 4 to 7, 2019, the FBI interviewed multiple individuals
associated with BETTS. A co-worker, who for the purpose of this affidavit will be referred to as
N.G., advised he was aware BETTS used to have a methamphetamine addiction approximately
three years ago. A co-worker, who for the purpose of this affidavit will be referred to as K.G.,
advised that BETTS had told K.G. that he used to have a drug abuse problem during high
school. When K.G. asked what type of drugs BETTS was abusing, BETTS mentioned huffing
and cocaine. A bandmate of BETTS, who for the purpose of this affidavit will be referred to as
J.C., advised that BETTS had told J.C. he used to use methamphetamine. A co-worker of
BETTS, who for the purpose of this affidavit will be referred to as C.W., advised that BETTS
had done methamphetamine in the past. C.W. believed BETTS had been clean for approximately
four years. A co-worker of BETTS, who for the purpose of this affidavit will be referred to as

A.G., believed that BETTS had a history of drug abuse.
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24. On or about August 7, 2019, the FBI interviewed an acquaintance of BETTS,
who for the purpose of this affidavit will be referred to as J.E. J.E. indicated that he and BETTS
hung out at least once a month from 2014 through 2017. J.E. indicated that BETTS was hardly
ever sober during this time and used heroin, cocaine, methamphetamine, and prescription
narcotics. J.E. said that BETTS would often show up to his home “messed up.”

25. On or about August 7, 2019, the FBI interviewed a former co-worker of BETTS,
who for the purpose of this affidavit will be referred to as E.S. E.S. advised that on or about
August 2, 2019, at approximately 4:45p.m., BETTS came into her place of employment and
bought a beer. Before he left, BETTS made the comment, “I just popped a xanny, we’ll see how
it goes.” Based on my training and experience, I know that the term “xanny” is often used as
street terminology for Xanax, a controlled substance.

26. On or about August 7, 2019, the FBI interviewed an acquaintance of BETTS,
who for the purpose of this affidavit will be referred to as J.E. J.E. advised that during the
timeframe he and BETTS were acquainted, which was late 201 8, J.E. believed BETTS was
using various drugs, including cocaine, methamphetamine, heroin, and molly,

Zi, On or about August 8, 2019, the FBI again interviewed E.K. E.K. informed the
FBI that he and BETTS had done “hard drugs,” marijuana, and acid together four to five times a
week during 2014 to 2015.

28. On or about August 8, 2019, E.K. was interviewed again by the FBI. E.K.
acknowledged his purchase for BETTS of the following items used by BETTS in the August 4,
2019 shooting in Dayton: (1) body armor, (2) upper receiver of the AM-15 weapon, and (3) the
100-round double drum magazine. E.K. indicated that he purchased these items for BETTS —

and stored them in E.K’s apartment — to assist BETTS in hiding them from BETTS’s parents.
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E.K. indicated that approximately 10 weeks ago while in E.K.’s apartment, E.K. watched and
helped BETTS assemble the AR-15 weapon used by BETTS in the August 4, 2019 shooting in
Dayton. E.K. indicated that upon arrival of the drum magazine approximately 6 to 8 weeks ago,
BETTS retrieved the assembled weapon, including the drum magazine, and took possession of it
and the body armor at that time.

29, On or about August 8, 2019, pursuant to a search warrant, issued by the Dayton
Municipal Court, access was gained into the Samsung $8 Active recovered from BETTS’s
person on or about August 4, 2019. Among the files on the phone were files that appeared to be
residual emails. One email stated, “Hi cOnnOwg0Onel4ter, It looks like someone logged into your
account from device ‘Samsung Galaxy S8 Active’ on July 25, 2019 at 13:30:53 EDT. The login
took place somewhere near Centerville, Ohio, United States.” It was signed, “Team Snapchat.”
Another email stated, “Hi cOnn0wg0nel4ter, This email is to notify you that the password for the
Snapchat account cOnnOwg0nel4ter has been changed. Thanks, Team Snapchat.”

30. On or about August 9, 2019, the FBI interviewed a friend of BETTS, who for the
purpose of this affidavit will be referred to as J.B. J.B. advised that BETTS had a very dark mind
and often discussed dark sexual fantasies. J.B. said the majority of these conversations with
BETTS were online utilizing Snapchat and a social media platform. J.B. said BETTS confided
with him and openly spoke about the “dark” thoughts on Snapchat and the social media platform.
J.B. provided BETTS’s Snapchat account as ACCOUNT 1.

31; Based on my training and experience, | am familiar with the process by which
individuals purchase, obtain, possess, and sell firearms and ammunition, and how they obtain,
possess, sometimes grow, and use controlled substances. I know that individuals engaged in

these activities often utilize email and other online and social media platforms and websites to
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communicate, including purchasing and planning the purchase of firearms and drugs, arranging
the subsequent sale and distribution of firearms and drugs, and discussing the use thereof. I also
know that individuals engaged in illegal activity often maintain multiple email and social media
accounts.

BACKGROUND RELATING TO SNAPCHAT

32: Snapchat is a messaging application provided by Snap Inc. In general, providers
like Snap Inc. ask each of their subscribers to provide certain personal identifying information
when registering for an account. This information can include the subscriber’s full name,
physical address, telephone numbers and other identifiers, e-mail addresses, and, for paying
subscribers, a means and source of payment (including any credit or bank account number).

33. Providers typically retain certain transactional information about the creation and
use of each account on their systems. This information can include the date on which the
account was created, the length of service, records of log-in (i.e., session) times and durations,
the types of service utilized, the status of the account (including whether the account is inactive
or closed), the methods used to connect to the account, and other log files that reflect usage of
the account. In addition, providers often have records of the Internet Protocol address (“IP
address”) used to register the account and the IP addresses associated with particular logins to
the account. Because every device that connects to the Internet must use an IP address, IP
address information can help to identify which computers or other devices were used to access

the account.

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34. In some cases, account users will communicate directly with a provider about
issues relating to their account, such as technical problems, billing inquiries, or complaints from
other users. Providers typically retain records about such communications, including records of
contacts between the user and the provider’s support services, as well records of any actions
taken by the provider or user as a result of the communications.

INFORMATION TO BE SEARCHED AND ITEMS TO BE SEIZED

Boks I anticipate executing this warrant under the Electronic Communications Privacy
Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)C1 (A) and 2703(c)(1)(A), by using the warrant
to require Snap Inc. to disclose to the government copies of the records and other information
(including the content of communications) particularly described in Section I of Attachment B.
Upon receipt of the information described in Section I of Attachment B, government-authorized
persons will review that information to locate the items described in Section I of Attachment B.

CONCLUSION

36. Based on the above, there is probable cause to believe that violations of 18 U.S.C.
§ 922(g)(3) (Possession of a firearm by an unlawful user of a controlled substance or by a person
addicted to a controlled substance), 18 U.S.C. § 922(a)(6) (false statement regarding firearms), 18
U.S.C. § 924(a)(1)(A) (false statement regarding firearms), 18 U.S.C. § 1001 (false statement),
and 21 U.S.C. § 844 (unlawful possession of a controlled substance), have been committed. There
is also probable cause to search the information described in Attachment A for evidence of these
crimes, as described in Attachment B.

37. I request that the Court issue the proposed search warrant. Because the warrant

will be served on Snap Inc., which will then compile the requested records at a time convenient

1]
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to it, reasonable cause exists to permit the execution of the requested warrant at any time in the
day or night.

Respectfully submitted,

(AZ

 

P. Andrew Gfagan
Special Agent
Federal Bureau of Investigation

Subscribed and sworn to before me on August 23, 2019, in Dayton, Ohio.

 

/ BON? MICHAEL J) NEWMAN
“UNITED STATES MAGISTRATE JUDGE

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ATTACHMENT A
Property to Be Searched
This warrant applies to information associated with Snapchat account IDs
cOnn0wg0nel4ter and connowgonelater, that are stored at premises owned, maintained,

controlled, or operated by Snap Inc., a company headquartered at 2772 Donald Douglas Loop

North, Santa Monica, CA 90405.
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ATTACHMENT B

Particular Things to be Seized

I. Information to be disclosed by Snap Inc.

To the extent that the information described in Attachment A is within the possession, custody,

or control of Snap Inc., including any messages, records, files, logs, or information that have

been deleted but are still available to Snap Inc., or have been preserved pursuant to a request

made under 18 U.S.C. § 2703(f), Snap Inc. is required to disclose the following information to

the government for each account listed in Attachment A from September 12, 2016 to Present:

a.

All identity and contact information, including full name, e-mail address, physical
address (including city, state, and zip code), date of birth, gender, hometown,
occupation, and other personal identifiers;

All past and current usernames, account passwords, and names associated with
the account:

The dates and times at which the account and profile were created, and the
Internet Protocol (“IP”) address at the time of sign-up;

All IP logs and other documents showing the IP address, date, and time of each
login to the account:

All data and information associated with the profile page, including photographs,
“bios,” and profile backgrounds and themes;

All communications with other Snapchatters, such as names, the time and date of
the communications, the number of messages exchanged with friends, which
friends exchanged messages the most, and interactions with messages, such as

when opening a message or capturing a screenshot;
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1 All device information, including information about the hardware and software,
such as the hardware model, operating system version, device memory,
advertising identifiers, unique application identifiers, apps installed, unique
device identifiers, browser type, language, battery level, and time zone; as well as
information about wireless and mobile network connections, such as mobile
phone number, service provider, and signal strength;

h. All information about the device’s phonebook;

i. All location data associated with the account, including all information collected
by GPS, wireless networks, cell towers, Wi-Fi access points, and other sensors,
such as gyroscopes, accelerometers, and compasses;

j- All information collected by cookies and other technologies;

k. All data and information that has been deleted by the user;

I, All log information, including details on how services were used, device
information, access times, pages viewed, IP addresses, identifiers associated with

cookies or other technologies that may uniquely identify the device or browser;

m. All “lists” created by the account;
1: All privacy and account settings;
0. All information about connections between the account and third-party websites

and applications;
p- All records pertaining to communications between Snap Inc. and any person
regarding the user or the user’s Snapchat account, including contacts with support

services, and all records of actions taken, including suspensions of the account.
II.

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Information to be seized by the government

. All records on the Accounts described in Attachment A that relate to violations

of:

© 18U.S.C. § 922(g)(3)
e 18 U.S.C. § 922(a)(6)

e 18 U.S.C. § 924(a)(1)(A)
e 18U.S.C. § 1001

e 210U.S.C.§ 844

and involve Connor Stephen BETTS (BETTS) since September 12, 2016, including:

a.

b.

Any information related to the purchase, use, or possession of firearms;

Any information related to the purchase, use, or sale of controlled substances;
Any information related to the types, amounts, and prices of controlled substances
or firearms purchased, used, or trafficked as well as dates, places, and amounts of
specific transactions;

Any information related to sources of controlled substances or firearms (including
names, addresses, phone numbers, or any other identifying information);

Any information recording BETTS’ schedule or travel from 2016 to the present;
All bank records, checks, credit card bills, account information, and other
financial records;

Records of Internet Protocol addresses used;

Records of Internet activity, including firewall logs, caches, browser history and
cookies, “bookmarked” or “favorite” web pages, search terms that the user
entered into any Internet search engine, and records of user-typed web addresses;
Evidence indicating how and when the Snapchat account was accessed or used, to

determine the chronological and geographic context of account access, use, and
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events relating to the crime under investigation and to the Snapchat account
owner;

J. Evidence indicating the Snapchat account owner’s state of mind as it relates to the
crime under investigation;

k. The identity of the person(s) who created or used the user ID, including records
that help reveal the whereabouts of such person(s):

|. The identity of the person(s) who communicated with the user ID, including
records that help reveal their whereabouts.

This warrant authorizes a review of electronically stored information, communications,
other records and information disclosed pursuant to this warrant in order to locate evidence,
fruits, and instrumentalities described in this warrant. The review of this electronic data may be
conducted by any government personnel assisting in the investigation, who may include, in
addition to law enforcement officers and agents, attorneys for the government, attorney support
staff, and technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the
disclosed electronic data to the custody and control of attorneys for the government and their

support staff for their independent review.
